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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                       )
  Matthew Dickson,                                     )    CASE NO. 5:18CV182
                                                       )
                  Plaintiff,                           )
                                                       )    Judge John R. Adams
          v.                                           )
                                                       )    ORDER
                                                       )
  Direct Energy, LP, et al.,                           )
                                                       )
                  Defendants.




          Consistent with the parties’ joint request, this matter is hereby stayed. The parties shall

  file a notice when it is appropriate to lift the stay.



          IT IS SO ORDERED.



  July 13, 2023                                             /s/John R. Adams
  Date                                                     Judge John R. Adams
                                                           United States District Court
